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                     UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO

RONEISE EDWARDS,                               )
              Plaintiff,                       )
                                               )
       v.                                      )
                                               ) Case No.: 3:17 CV 1547
PORTFOLIO                                      )
RECOVERY ASSOCIATES, LLC,                      )
              Defendant.                       )
                                               )
                                               )

             STIPULATION AND ORDER TO DISMISS WITH PREJUDICE

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice and with each party to bear its own costs and fees.


/s/ Elizabeth Shaffer                          /s/ Amy L. Bennecoff Ginsburg
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 Attorney for the Defendant                     Attorney for Plaintiff

Date: September 19, 2018                       Date: September 19, 2018



                                     BY THE COURT:



                                       s/ Jack Zouhary
                                     _________________________
                                     Judge Jack Zouhary
                                     U.S. DISTRICT JUDGE

                                     September 19, 2018
